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 1   SHAUN KHOJAYAN (#197690)
 2   LAW OFFICES OF SHAUN KHOJAYAN
      & ASSOCIATES, P.L.C.
 3   515 South Flower Street, 36th Floor
 4   Los Angeles, CA 90071
     Telephone: (310) 274-6111
 5   Facsimile: (310) 274-6211
 6   Email: shaun@khojayan.com
     Attorney for Defendant Haitham Habash
 7

 8                          IN THE UNITED STATES DISTRICT COURT
 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                                Case No.: 15-CR-00286 AWI-BAM
11
                          Plaintiff,
12                                                            REVISED STIPULATION TO
           v.                                                 MODIFY CONDITIONS OF
13                                                            RELEASE FOR DEFENDANT
     HAITHAM HABASH,                                          HAITHAM HABASH; ORDER
14

15                        Defendant.

16

17
           Notice is hereby given that, subject to approval by the court, Haitham Habash
18

19   hereby stipulates, by and through his counsel Shaun Khojayan, and Assistant

20   United States Attorney, Karen Escobar that defendant Haitham Habash’s conditions
21
     of release be modified to have:
22

23         1) condition of curfew/location monitoring removed;

24         2) travel restricted to the Central District and Eastern District for court
25
     related purposes with prior PSO approval. Any other out of district travel to be
26

27   approved in advance by the Court; and
28         3) all other previously imposed conditions, not in conflict with this
                                                              1.
                U.S. v Haitham Habash, Case #15-CR-0286-AWI        Stipulation to Modify Conditions of Release
     Case 1:15-cr-00286-DAD-BAM Document 309 Filed 01/31/18 Page 2 of 2


 1   stipulation and order, shall remain in full force and effect.
 2
           The AUSA and pretrial services officer have no objection to these
 3

 4   modifications.

 5   I consent to the above stipulation.
 6
     Date: 1/30/2018                                              /s/ Karen Escobar (with permission)
 7                                                                AUSA Karen Escobar
 8
     I consent to the above stipulation.
 9

10   Date: 1/30/2018                                              /s/ Shaun Khojayan
                                                                  Shaun Khojayan
11

12

13                                                  ORDER
14
     The Stipulation to Modify conditions of release for defendant Haitham Habash is
15

16   hereby approved.
17   IT IS SO ORDERED.
18
     Dated: January 31, 2018                                                 /s/ Barbara A. McAuliffe
19                                                                UNITED STATES MAGISTRATE JUDGE
20

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                                                           2.
             U.S. v Haitham Habash, Case #15-CR-0286-AWI        Stipulation to Modify Conditions of Release
